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                    IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA                       )
                                                )
       Plaintiff/Respondent                     )
                                                )
              vs.                               )     Case No. 09-CR-0043-SPF
                                                )
 LINDSEY KENT SPRINGER                          )
                                                )
       Defendant/Movant.                        )

    [PROPOSED] ORDER DENYING DEFENDANT/MOVANT’S MOTIONS
                   (DOC. NOS. 647, 649 and 653)

       Before the court are Mr. Springer’s “Motion for Reconsideration of Order and

 Judgment Dated June 22, 2018”, Motion to Set Aside Order and Judgment Dated

 June 22, 2018 for Fraud Upon the Court”, and “Motion to Determine Specifically the

 Constitutional Validity of the Appointment to Office of Charles A. O’Reilly, Jeffrey

 A. Gallant, and R. Trent Shores” (doc. nos. 647, 649 and 653). Having considered

 Mr. Springer’s pleadings and the United States’ response, along with the record in

 this matter, Mr. Springer’s motions, doc. nos. 647, 649 and 653 are in all respects

 DENIED.

       DATED

                                        _______________________________________
                                        STEPHEN P. FRIOT
                                        UNITED STATES DISTRICT JUDGE
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                           CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of August, 2018, I electronically

 transmitted the foregoing document to the Clerk of Court using the ECF System for

 filing, and also served the foregoing document by United States Postal mail to:

       Lindsey Kent Springer
       Defendant
       FCI Seagoville
       Federal Correctional Institution
       P.O. Box 9000
       Seagoville, TX 75159
       Inmate Number 02580-063.



                                          __/s/ Charles A. O’Reilly_______________
                                          Charles A. O’Reilly
                                          Special Assistant United States Attorney
